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   12                      UNITED STATES DISTRICT COURT
   13         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   14 In re: Hyundai and Kia Engine              CASE NO. 8:18-cv-02223-JLS-JDE
      Litigation II
   15                                            DEFENDANTS’ REPLY TO
                                                 DECLARATION OF TIONNA
   16                                            DOLIN (Dkt. 134)
   17                                            Date: September 8, 2023
                                                 Time: 10:30 a.m.
   18
                                                 Ctrm: 8A
   19
                                                 The Hon. Josephine L. Staton
   20
                                                 Trial Date:        None Set
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                                                                 Case No. 8:18-cv-02223-JLS-JDE
                                 DEFENDANTS’ REPLY TO DECLARATION OF TIONNA DOLIN (Dkt. 134)
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    1        Defendants Hyundai Motor Company, Hyundai Motor America, Kia America,
    2 Inc., and Kia Corporation, submit this reply to the Declaration of Tionna Dolin
    3 Requesting Confirmation of Seventeen Consumer’s Requests for Exclusion (“Dolin
    4 Declaration”) (Dkt. 134).
    5        As noted in defendants’ Notice Regarding Settlement Exclusions, “[a]ny
    6 exclusion requests that included incomplete or inaccurate information, such that
    7 defendants could not identify the requestor, class vehicle, or VIN, were considered
    8 invalid after attempting to resolve the inaccuracy through defendants’ internal
    9 database and/or outreach to the requester. And exclusion requests that attempted to
   10 opt out a non-Class Vehicle or attempted to opt out for a different settlement were not
   11 counted.” Dkt. 129.
   12        Of the seventeen requests for exclusion listed in the Dolin Declaration, sixteen
   13 requests were for invalid or non-Class Vehicle VINs:
   14        1.     Maria Campos
   15        2.     Deanna Clark
   16        3.     Penny Beachum
   17        4.     Mayra Bermudez
   18        5.     Joseph Forehan
   19        6.     Nikelle Franklin
   20        7.     Jason Guaschino
   21        8.     Miguel Munoz
   22        9.     Leticia Sanchez1
   23        10.    Guillermo Sandoval
   24        11.    Robert Thomas
   25        12.    Marylin Weger
   26
   27   1
        Ms. Sanchez’s name is spelled incorrectly as “Letucia Sanchez” in the Dolin
   28 Declaration.

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    1        13.    Micah Weger
    2        14.    Donna Wehmeier
    3        15.    Doress Wehmeier
    4        16.    Wanpian Zhou
    5        Defendants were also not able to identify a valid Class Vehicle VIN based on
    6 the other information provided in these requests through defendants’ internal database
    7 and/or outreach to the requester. Thus, these sixteen requests were not included in
    8 defendants’ notice of exclusions as defendants could not verify that they belonged to
    9 the Class.
   10        The only remaining person mentioned in the Dolin Declaration is Aaron Caver,
   11 who is in fact included as “Aaron Knox (Caver)” in defendants’ notice of exclusions.
   12 Dkt. 129-1 at 11.
   13        Accordingly, defendants properly excluded sixteen requests mentioned in the
   14 Dolin Declaration and confirm that Aaron Caver submitted a valid opt-out request.
   15
   16 DATED: September 6, 2023              Respectfully submitted,
   17
                                            QUINN EMANUEL URQUHART &
   18                                       SULLIVAN, LLP
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   20
                                            By /s/ Shon Morgan
   21
                                               Shon Morgan
   22                                          Attorneys for Defendants Hyundai Motor
   23                                          Company, Hyundai Motor America, Kia
                                               America, Inc., and Kia Corporation
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